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IS 44 (Rey. 09/11)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither rere nor sspplement the filing and service of pleadings or other papers as teauirye by law, exceptas provided

by local rules of court. This form, approved by the Judicial Conference of the United
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

tates in September 1974, is required for the use of the Clerk of

ourt for the purpose of initiating

I. (a) PLAINTIFFS
EUGENIA RODRIGUEZ individually and on behalf of the class defined.

DEFENDANTS
THE LAW OFFICES OF KIRK A. CULLIMORE, a Utah LLC, KIRK A.

(b) County of Residence of First Listed Plaintiff Salt lake County
(EXCEPT IN U.S. PLAINTIFF CASES)

NOTE:

Attorneys (if Known)

ALCAN EOWA SE OHA E MORES GUINKV A. SPERRY, McKAY,

BURTON & THURMAN 170 S. MAIN ST. STE 800, SLC, UT 84101

County of Residence of First Listed Defendant

CULLIMORE, an individual and DOE DEFENDANTS 1-5.

SALT LAKE COUNTY

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CA
THE TRACT OF LAND INVOLVE

SES) USE THE LOCATION OF

Il. BASIS OF JURISDICTION (Place an "X" in One Box Only) IL. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 3 Federal Question PTF DEF PIF DEF
Plaintiff (US. Government Not a Party) Citizen of This State 1 1 Incorporated or Principal Place o 4 ha
of Business In This State
O 2 U.S. Govemment O 4 Diversity Citizen of Another State QO 2 O 2 Incorporated and Principal Place os O45
Defendant (Inclicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a G3 O 3 Foreign Nation oO 6 O86
Foreign Country

IV. NATURE OF SUIT (Place an “¥” in One Box Only)

| CONTRA! Bs i _ :‘TORTS:. au FORFEITURE/PENALTY._|:: BANKRUPTCY... =... ,OTHER STATUT
O 110 Insurance PERSONAL INJURY PERSONALINJURY {0 625 Drug Related Seizure © 422 Appeal 28 USC 158 O 375 False Claims Act
OG 120 Marine 310 Airplane O 365 Personal Injury - of Property 21 USC 881 |O 423 Withdrawal OF 400 State Reapportionment
GO 130 Miller Act G 315 Airplane Product Product Liability O 690 Other 28 USC 157 OF 410 Antitrust
OC 140 Negotiable Instrument Liability © 367 Health Care/ O 430 Banks and Banking
O 150 Recovery of Overpayment |( 320 Assault, Libel & Pharmaceutical -PROPERTY- RIGHT: O 450 Commerce
& Ente of Judg Slander Personal Injury O 820 Copyrights © 460 Deportation
O 151 Medicare Act O 330 Federal Employers’ Product Liability O 830 Patent O 470 Racketeer Influenced and
O) 152 Recovery of Defaulted Liability O 368 Asbestos Personal CO 840 Trademark Corrupt Organizations
Student Loans C7 340 Marine Injury Product O 480 Consumer Credit
(Excl. Veterans) 7 345 Marine Product Liability LABOR = = SOCIAL: SECURITY... O 490 Cable/Sat TV
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY |0 710 Fair Labor Standards O 861 HIA (1395ff) OF 850 Securities/Commodities/
of Veteran’s Benefits © 350 Motor Vehicle CO 370 Other Fraud Act DO 862 Black Lung (923) Exchange
0 160 Stockholders’ Suits 1 355 Motor Vehicle O 371 Truth in Lending O 720 Labor/Mgmt. Relations CO 863 DIWC/DIWW (405(g)) | 890 Other Statutory Actions
O 190 Other Contract Product Liability O 380 Other Personal 0 740 Railway Labor Act O 864 SSID Title XVI © 891 Agricultural Acts
© 195 Contract Product Liability [0 360 Other Personal Property Damage O 751 Family and Medical OD 865 RSI (405(g)) O 893 Environmental Matters
O 196 Franchise Injury O 385 Property Damage Leave Act © 895 Freedom of Information
© 362 Personal Injury - Product Liability O 790 Other Labor Litigation Act
Med. Malpracti O 791 Empl. Ret. Inc. © 896 Arbitration
| REAL: PROPERTY... CIVIL RIGHTS... .|- PRISONER PETITIONS Security Act FEDERAL TAX-SUITS- O 899 Administrative Procedure
O 210 Land Condemnation O 440 Other Civil Rights O 510 Motions to Vacate O 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
O 220 Foreclosure O 441 Voting Sentence or Defendant) Agency Decision
O 230 Rent Lease & Ejectment O 442 Employment Habeas Corpus: O 871 IRS—Third Party O 950 Constitutionality of
O 240 Torts to Land O 443 Housing/ O 530 General 26 USC 7609 State Statutes
G8 245 Tort Product Liability Accommodations O} 535 Death Penalty IMMIGRATION! ==
O 290 All Other Real Property O 445 Amer. w/Disabilities - | 540 Mandamus & Other [0 462 Naturalization Application
Employment O 550 Civil Rights 0 463 Habeas Corpus -
O 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee
Other O 560 Civil Detainee - (Prisoner Petition)
O 448 Education Conditions of OF 465 Other Immigration
Confinement Actions
V. ORIGIN (Place an “X" in One Box Only) T ferred fi
(*1 Original O 2 Removed from O 3  Remanded from O 4 Reinstatedor O 5 she ae O 6 Multidistrict
Proceeding State Court Appellate Court Reopened (snecifv) Litigation

15 U.S.C. Section 1692

Cite the U.S. Civil Statute under which you are filing (De not cife jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause:

VIOLATIONS OF THE FAIR DEBT COLLECTIONS PRACTICES ACT

VI. REQUESTED IN (4 CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P, 23 500,000.00 JURY DEMAND: Yes ONo
VII. RELATED CASE(S) a ee
IF ANY (See instructions): JUDGE DOCKET NUMBER

DATE SI URE OF ATTORNEY OF RECORD

08/06/2012 : A. Ga
FOR OFFICE USE ONLY <= ~~

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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JS 44 Reverse (Rev. 09/11)
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attorney filing a case should complete the form as follows:

I. (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. Ifthe plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. Ifthe plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.

i. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the US. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of
the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

Wl. Residence (citizenship) of Principal Parties. This section ofthe JS 44 is to be completed ifdiversity ofcitizenship was indicated above. Mark this section
for each principal party.

IV. Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of
suit, select the most definitive.

Vv. Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes

unless diversity. Example: U.S. Civil Statute: 47 USC 553 ;
Brief Description: Unauthorized reception of cable service

VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
